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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                   Plaintiff,
                                                                DECISION AND ORDER
               v.                                                   16-CR-87-A

DWAYNE POSEY,

                                   Defendant.


       The defendant, Dwayne Posey, is charged in an Indictment returned on July 27,

2016, with five controlled substance offenses and two firearms offenses. Specifically,

defendant Posey is charged with (1) conspiracy to possess with intent to distribute 50

grams or more of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)

and 846; (2) conspiracy with intent to distribute heroin in violation of 21 U.S.C. §§

841(a)(1), 841(b)(1)(C), and 846; (3) possession with intent to distribute five grams or

more of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B), and

18 U.S.C. § 2; (4) possession with intent to distribute methamphetamine in violation of

21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), and 18 U.S.C. § 2; and, (5) possession of

heroin with intent to distribute in violation 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). Dkt.

No. 10, pp. 1-4. The defendant is also charged with having possessed a firearm in

furtherance of drug trafficking in violation of 18 U.S.C. § 924(c)(1)(A)(i), and being a

felon in possession of a firearm in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

Dkt. No. 10, pp. 5-7. The case was referred to Magistrate Judge H. Kenneth

Schroeder, Jr., pursuant to 28 U.S.C. § 636(b)(1) for the conduct of pretrial

proceedings.
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       I. The Wiretap Report and Recommendation. On March 13, 2018, Magistrate

Judge Schroeder filed a Report, Recommendation and Order (Dkt. No. 69) that

recommended, among other things, that a motion filed by defendant Posey to suppress

the fruits of December 28, 2015 and February 23, 2016 trap-and-trace orders and of

March 9, 2016 and April 8, 2016 wiretap orders, and to dismiss the Indictment all be

denied. The defendant objected to the recommendation to deny suppression of the

fruits of the wiretaps. He argued primarily that the showing of necessity and of probable

cause were insufficient.

       Pursuant to 28 U.S.C. §636(b)(1), the Court must make a de novo determination

of the portions of a report and recommendation to which objections have been made.

After reviewing the submissions of the parties, having heard oral argument, and upon

de novo review, it is hereby

       ORDERED that the motions of defendant Posey to suppress the fruits of the

March 9, 2016 and April 8, 2016 wiretap orders (Dkt. Nos. 48, 58) are denied for the

reasons stated in the Report and Recommendation. Dkt. No. 69.

       II. The Oral Statements Report and Recommendation. On May 17, 2019,

Magistrate Judge Schroeder filed a Report, Recommendation and Order (Dkt. No. 123)

that recommended, among other things, denial of defendant Posey’s supplemental

motions: (1) to suppress oral statements (a) that were beyond scope of the public-

safety exception to Miranda1; (b) that were made after Miranda warnings were given but



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           Miranda warnings by law enforcement officers are required to ensure that persons
who are subject to custodial interrogation are aware of their constitutional rights against
self-incrimination and to legal counsel. See Miranda v. Arizona, 384 U.S. 436, 487-79 (1966).

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were the product of a two-step interrogation; and (c) that were made after the prompt-

presentment safe harbor had lapsed; and, (2) to suppress telephone call detail records

and evidence derived from them (Dkt. No. 94), all be denied.

       Defendant Posey objected to each of these recommendations. Pursuant to 28

U.S.C. §636(b)(1), the Court must make a de novo determination of the portions of a

report and recommendation to which objections have been made. After reviewing the

submissions of the parties, having heard oral argument, and upon de novo review, it is

hereby

       ORDERED, pursuant to 28 U.S.C. § 636(b)(1), and for the reasons set forth in

Magistrate Judge Schroeder’s Report and Recommendation (Dkt. No. 123), defendant

Posey’s supplemental motions: (1) to suppress oral statements (a) that were beyond

the scope of the public-safety exception to Miranda; (b) that were made after Miranda

warnings were given but were the product of a two-step interrogation; and (c) that were

made after the prompt-presentment safe harbor had lapsed; and, (2) to suppress

telephone call detail records and evidence derived from them, are denied.

       III. Status Conference. The parties shall be appear at 9:00 a.m. on September

18, 2019, to set a date for a change of plea or trial.

       IT IS ALL SO ORDERED.



                                           __s/Richard J. Arcara____________
                                           HONORABLE RICHARD J. ARCARA
                                           UNITED STATES DISTRICT COURT


Dated: September 16, 2019

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